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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ANDREW MACKMIN, et al.,

Plaintiffs, Civil Action No. 1:11-cv-1831-RJL
v. Assign Date: 8/4/2015

Description: Antitrust — Class Action
VISA INC., et al.,

Defendants.

 

 

ORDER GRANTING MACKMIN CONSUMER PLAINTIFFS’ MOTION
FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION
EXPENSES, AND SERVICE AWARDS FOR CLASS REPRESENTATIVES
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This matter comes before the Court on the Mackmin Consumer Plaintiffs’ Motion for
Award of Attorneys’ Fees, Reimbursement of Litigation Expenses, and Service Awards for Class
Representatives (“Motion”). The Court, having considered the Motion, and all papers filed in
support thereof and opposition thereto, and the argument of counsel, and good cause appearing,
hereby GRANTS the motion and ORDERS that:

1. Class Counsel are awarded attorneys’ fees of $20,022,000, together with a
proportional share of interest earned on the Settlement Fund for the same time period until
disbursed to Class Counsel.

2. Class Counsel are awarded reimbursement of their litigation costs and expenses in

the amount of $10,000,000.

3. Class Representatives Andrew Mackmin and Sam Osborn shall each receive a
service award of $10,000.
4. The attorneys’ fees awarded, reimbursement of litigation costs and expenses, and

the service awards shall be paid from the Settlement Fund and the interest earned thereon.

IT IS SO ORDERED.

DATED: S [S| V2 ,

HONORABLE RICI
UNITED STATES

     

TRICT COURT JUDGE
